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 5
 6    ATTORNEY FOR Defendant,
      TIMOTHY PATRICK ORTIZ
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                              ******

11    UNITED STATES OF AMERICA,                         Case No.: 1:14-CR-00101-2 DAD
12                  Plaintiff,                          STIPULATION AND ORDER TO
13           v.                                         CONTINUE SENTENCING

14
                                                        Date: January 29, 2018
15    TIMOTHY ORTIZ,                                    Time: 10:00 a.m.
                                                        Courtroom: 5
16                  Defendant.                          Hon. David A. Drozd
17
18    TO:    THE HONORABLE COURT AND TO THE UNITED STATES ATTORNEY:
19           Defendant, TIMOTHY ORTIZ and through his attorney of record, Anthony P. Capozzi
20    and the United States Attorney by and through Karen Escobar, hereby stipulate as follows:
21           1.     By previous order, this matter was set for sentencing on January 29, 2018, at
22    10:00 a.m.
23           2.     The parties agree and stipulate that Defendant requests this court to continue the
24    sentencing until February 12, 2018, at 11:00 a.m.
25           3.     The parties agree and stipulate, and request that the Court find the following:
26                  a.      The Defendant pled guilty on August 14, 2017.
27                  b.      Defense counsel was in a two week long jury trial when the final
28           Presentence Report and Victim Impact Statements were filed.
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 1                    c.      Defense counsel is currently in a jury trial in USA v. Jimmy Maldonado,
 2             et al., case number 1:14-cr-00109-LJO and will be attending the Commission on
 3             Judicial Performance hearings on January 30-31, 2018.
 4                    d.      Defense counsel needs additional time to review the victim impact
 5             statements, sentencing memorandums and the unredacted memo that has been ordered
 6             to be produced “not later than January 30, 2018” (Doc. 357 and 383).
 7                    e.      The Government does not object to this continuance.
 8
 9    IT IS SO STIPULATED.
10                                               Respectfully submitted,

11    DATED:         January 24, 2018      By: /s/Anthony P. Capozzi
                                               ANTHONY P. CAPOZZI
12                                             Attorney for Defendant TIMOTHY PATRICK
13                                             ORTIZ

14
15    DATED:         January 24, 2018      By: /s/Karen A. Escobar
                                               KAREN A. ESCOBAR
16                                             Assistant United States Attorney
17
18
19                                                 ORDER

20             For reasons set forth above, the continuance requested by the parties is granted for good

21    cause.

22             IT IS ORDERED that the sentencing currently scheduled for January 29, 2018, at

23    10:00 a.m. is continued to February 12, 2018, at 11:00 a.m.

24
25    IT IS SO ORDERED.

26       Dated:      January 24, 2018
27                                                       UNITED STATES DISTRICT JUDGE

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